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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )                   8:16CR62
                                                 )
       vs.                                       )                    ORDER
                                                 )
FRANCISCO GOMEZ,                                 )
ROSE GOMEZ,                                      )
JASON HIBBS,                                     )
MANUEL ORTIZ,                                    )
LORI FORMANEK and                                )
MARIA ROBLES-ROJAS,                              )
                                                 )
                      Defendants.                )


       This matter is before the court on the motion to extend the pretrial motion deadline by
defendant Jason Hibbs (Hibbs) (Filing No. 46). Hibbs seeks an additional thirty days to file
pretrial motions. Hibbs’ counsel represents that government’s counsel has no objection to the
motion. Hibbs has filed an affidavit wherein he agrees to the motion and understands the time
allowed by the motion will be excluded from Speedy Trial computations. Upon consideration,
the motion will be granted. Furthermore, the time to file pretrial motions will be extended
to all co-defendants.


       IT IS ORDERED:
       1.      Hibbs’ motion to extend the pretrial motion deadline (Filing No. 46) is granted.
       2.      ALL Defendants are given until May 20, 2016 in which to file pretrial motions
in accordance with the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April 18,
2016, and May 20, 2016, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendants’ counsel require additional
time to adequately prepare the case, taking into consideration due diligence of counsel and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
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    DATED this 18th day of April, 2016.
                                                BY THE COURT:
                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge




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